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     IT IS THE RESPONSIBILITY OF COUNSEL TO READ THIS ENTIRE NOTICE

                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

Donna Poplar,

       Plaintiff(s),

vs                                                   Case No: 21-12568
                                                     Honorable Victoria A. Roberts
Genesee County Road Comission,

     Defendant(s).
____________________________________/

                                   NOTICE OF:

(1) FRCP 16(b) STATUS AND SCHEDULING CONFERENCE, AND
(2) DEADLINE TO EXCHANGE FRCP 26(a)(1) INITIAL DISCLOSURES

     Counsel are encouraged to familiarize themselves with the most recent
amendments to the Federal Rules of Civil Procedure.

       If the parties have not already done so, you are directed to meet face-to-face,
by telephone, or by more sophisticated electronic means, to prepare a joint
proposed discovery plan in accordance with FRCP 26(f). The proposed discovery
plan must be double spaced.

       The parties are allowed to serve a FRCP 34 document production request
prior to the Rule 26(f) meeting; the date of service can be calculated as the date of
the first 26(f) meeting. However, any Rule 34 requests served prior to the parties’
first Rule 26(f) conference are due within 30 days after the first Rule 26(f)
conference. (FRCP 34) (FRCP 26(d)(2))

      Please consult FRCP 34 for complete requirements on producing documents,
Electronically Stored Information, and Tangible Things, or Entering onto Land for

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Inspection and Other Purposes.

      Any party’s failure to comply with this section may result in the imposition
of sanctions.

      FOURTEEN (14) DAYS BEFORE THE CONFERENCE:

      (1) The Rule 26(f) plan must be electronically filed, and

       (2) FRCP 26(a)(1) Initial Disclosures must be exchanged. If they have not
been exchanged fully by the time the proposed plan is filed, state whether any
party believes any of the initial disclosure requirements under FRCP26(a)(1) are
not appropriate, and the basis for the objection. The parties shall not use their
failure to promptly hold a Rule 26(f) meeting, or the Court’s failure to promptly
schedule a Rule 16 conference, as the basis for not making disclosures required
under Rule 26(a)(1).

      In addition to the requirements set forth in Rule 26(f), your proposed plan
must address:

      !     The background of the action, and the principal factual and legal
            issues, including the nature of and basis for all claims and defenses.
            Please provide sufficient information so that the Court does not have
            to refer to the pleadings;

      !     Proposed amendments to the pleadings;

      !     Admissions of facts and stipulations to the authenticity of certain
            documents;

      !     Whom you propose to depose, whether you propose to depose more
            than ten (10) witnesses, and whether you expect any deposition to last
            longer than one (1) day of seven (7) hours;

      !     Whether you seek leave to serve in excess of twenty-five (25)
            interrogatories, including sub-parts;

      !     Areas which may require expert testimony;

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      !      Any issues (including procedures and protocols) relating to disclosure
             or discovery of electronically stored information, including the form
             or forms in which it should be produced;

      !      Any issue relating to preserving discoverable information or
             electronically stored information;

      !      Privilege claims or protection of trial-preparation materials; if the
             parties agree on a procedure to assert these claims after production,
             please describe and say whether you would want any agreements
             reached placed in an order under Rule 502 of the Federal Rules of
             Evidence;

      !      Outstanding or anticipated discovery disputes, and the basis you have
             for any objection;

      !      An appropriate management plan, including a recommended
             discovery cut-off date;

      !      Each side’s view of what it would take to resolve this matter;

      !      Whether either side plans on filing motions in the near future and - if
             so - explain; and

      !      Other appropriate matters.

       Failure to participate in any part of what this Notice requires, must be
brought to the attention of the Court immediately by the opposing party. Any
failure could result in the imposition of sanctions, including dismissal or default
judgment.

YOU ARE NOTIFIED TO APPEAR BEFORE JUDGE ROBERTS’ VIA
ZOOM ON: February 22, 2022 at 4:00pm for the Status and Scheduling
Conference.

      This conference will be held even if you file a Rule 26(f) plan.


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     Only counsel familiar with the case should appear to represent a party.
Counsel should be prepared to:

                   A.   Identify and narrow issues;

                   B.   Discuss pleading amendments;

                   C.   Discuss settlement;

                   D.   Discuss control of discovery;

                   E.   Identify issues which may appropriately be resolved by motion;
                        and

                   F.   Estimate trial length.

        Parties must bring their calendars to schedule future dates.

                                                     s/ Linda Vertriest
                                                     Linda Vertriest, Case Manager
                                                     United States District Court
                                                     231 West Lafayette, Room 1023
                                                     Detroit, MI 48226
                                                     (313) 234-5230
Dated: 1/7/2022

IT IS THE RESPONSIBILITY OF PLAINTIFF TO NOTIFY ALL
COUNSEL KNOWN AND NOT LISTED BELOW OF THIS STATUS AND
SCHEDULING CONFERENCE.

The court does not grant adjournments of Status and Scheduling Conferences
because trial counsel is not available. Substitute counsel must appear who is
knowledgeable about the case and who can meaningfully discuss the issues
outlined above. In rare instances, requests for trial counsel to hold this conference
by telephone will be granted.
(Revised 8/2019)




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